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     DAVID D. FISCHER (SBN 224900)
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 2
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 4   davefischer@yahoo.com – E-mail
 5
     Attorney for Defendant
     BOONE KHOONSRIVONG
 6

 7
                         IN THE UNITED STATES DISTRICT COURT FOR THE
 8
                                 EASTERN DISTRICT OF CALIFORNIA
 9

10
     UNITED STATES OF AMERICA,                      )
                                                    )       No. 2:15-CR-00176 TLN,
11
                                                    )           1:15-CR-00242 TLN
            Plaintiff,                              )
12
                                                    )       STIPULATION AND ORDER FOR
     v.                                             )       SCHEDULING OF A STATUS
13
                                                    )       CONFERENCE FOR JANUARY 11, 2018,
     BOONE KHOONSRIVONG,                            )       AT 9:30 A.M.
14
                                                    )
                                                    )
15          Defendant.                              )
                                                    )
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22
                                             STIPULATION
23
            Plaintiff United States of America, by and through its counsel of record, and the
24   defendant, by and through his counsel of record, hereby stipulate as follows:
25          1.       On March 16, 2017, the defendant entered a guilty plea pursuant to written plea
26   agreement (doc. 128). Mr. Khoonsrivong was represented by the Federal Defender’s Office at
27   that time.
28          2.       On October 17, 2017, the Court granted the Federal Defender’s motion to


                                                        1
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 1   withdraw as counsel (doc. 256).
 2          3.       On October 18, 2017, the Court signed an order appointing David Fischer to

 3   represent the defendant, vacated the current dates for the PSR and sentencing, and directed the

 4   parties to propose a new dates by stipulation (doc. 259).

 5          4.       Defense counsel still needs additional time to review this case, and the parties

 6   are requesting that this case be placed on calendar on January 11, 2018, at 9:30 a.m. for a

 7
     status conference.

 8
     IT IS SO STIPULATED.
 9

10   Dated: December 11, 2017                                      U.S. ATTORNEY

11                                                        by:      /s/ David D. Fischer for
                                                                   ANDRE ESPINOSA
12
                                                                   Assistant U.S. Attorney
13                                                                 Attorney for Plaintiff

14

15
     Dated: December 11, 2017                                      /s/ David D. Fischer
                                                                   DAVID D. FISCHER
16                                                                 Attorney for Defendant
                                                                   BOONE KHOONSRIVONG
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19

20                                              ORDER

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23   IT IS SO FOUND AND ORDERED this 12th day of December, 2017.

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27                                                               Troy L. Nunley
28
                                                                 United States District Judge



                                                      2
